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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

 EARL PARRIS, JR., individually, )
 and on behalf of a Class of persons )
 similarly situated,                 )
                                     )
        Plaintiff,                   ) Civil Action No. 4:21-cv-00040-TWT
                                     )
 vs                                  )
                                     )
 3M COMPANY, et al.,                 )
                                     )
        Defendants.                  )

   DEFENDANT MOUNT VERNON MILLS, INC.’S MOTION FOR
PARTIAL RECONSIDERATION OF THE COURT’S NOVEMBER 15, 2023
     ORDER AND INCORPORATED MEMORANDUM OF LAW


      COMES NOW Defendant Mount Vernon Mills, Inc. (“Mount Vernon”) and

hereby files this Motion for Partial Reconsideration pursuant to Local Rule 7.2(E).

As described in detail below, Mount Vernon respectfully requests that the Court

reconsider its November 15, 2023 Opinion and Order granting Defendants E.I. Du

Pont De Nemours and Company (“Du Pont”), the Chemours Company

(“Chemours”), 3M Company (“3M”), Daikin America Inc. (“Daikin”), Pulcra

Chemicals LLC (“Pulcra”), and Town of Trion Georgia’s (“Trion”) (collectively,

“Moving Defendants”) Motion to Temporarily Stay this Case [Dkt. 438] insofar as
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the Court’s conclusion that Mount Vernon’s objection to the deposition of its

employee, Ron Beegle, due to the Motion to Stay is moot.

         As further addressed herein, the deposition noticed for October 10, 2023 did

not go forward as the Court’s Order suggests, and all parties reserved their rights.

Consequently, the consequences of the failure to attend the deposition remain a live

controversy for resolution by the Court.

                ARGUMENT AND CITATION OF AUTHORITY1

    I.   Standard of Review

         A motion for reconsideration is permitted under Local Rule 7.2. A party may

move for reconsideration when at least one of the following three elements exists:

(1) the discovery of new evidence; (2) an intervening development or change in the

controlling law; or (3) the need to correct a clear error or manifest injustice. Kemper

v. Equity Ins. Co., No. 1:15-CV-02961-TCB, 2017 WL 11634616, at *1 (N.D. Ga.

Sept. 5, 2017), citing Preserve Endangered Areas of Cobb's History, Inc. v. United

States Army Corps of Eng'rs, 916 F. Supp. 1557, 1560 (N.D. Ga. 1995). Further, an

order based upon an incorrect presumption of fact would constitute error. See

Pizarro v. Vida Cafe, LLC, 440 F. App'x 861, 862 (11th Cir. 2011).




Mount Vernon incorporates by reference the arguments made in its Response to the
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Moving Defendants Motion to Stay [Dkt. 422].
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II.   Argument

         a. Mount Vernon Respectfully Requests That The Court Reconsider
            Its Determination That Mount Vernon’s Objection Is Moot, Based
            On The Court’s Incorrect Presumption That the Deposition of Ron
            Beegle Proceeded on October 10, 2023.

      Mount Vernon objected to the Moving Defendants’ Motion to Stay this case

to the extent that it would prohibit the individual deposition of Mount Vernon

employee, Ron Beegle, from moving forward during the stay. [See Dkt. 422]. In the

Court’s November 15 Opinion and Order, the Court did not address the merits of

Mount Vernon’s objection to the Motion to Stay and, instead, stated “the Court

presumes that the Defendant Mount Vernon Mills’s objection to the Motion to Stay

is now moot, given that the deposition at issue was scheduled to take place October

10, 2023, and the Court has not been advised of any postponement.” [Dkt. 438 at p.

5]. The Court’s assumption is understandable as there was no stay in place on

October 10, 2023 that would have prevented the deposition from taking place.

However, the Court’s presumption was unfortunately incorrect.

      Mount Vernon advised all parties that it intended to make Mr. Beegle

available on October 10, 2023, as noticed, and that it was prepared to make a record

of Mr. Beegle’s appearance and the failure of deposing parties to appear. (See email

from William Droze dated October 6, 2023, and attached hereto as Exhibit 1.) On

October 6, 2023, in an effort to conserve resources, the Moving Defendants agreed

that Mount Vernon and the other parties interested in the deposition did not need to
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physically appear at the scheduled deposition on October 10, 2023, in order for

Mount Vernon to make a record that it presented its witness for the deposition or to

preserve Mount Vernon’s objections to the stay of the deposition. (See email chain

from Moving Defendants dated October 6, 2023 and attached hereto as Exhibit 2).

The Moving Defendants did not move forward with Mr. Beegle’s deposition on

October 10, 2023, and left for the Court the determination of the merits of Mount

Vernon’s objections when it decided the Motion to Stay. At no point did Mount

Vernon waive its objections, nor did it agree that Mr. Beegle’s deposition should

not be required to proceed while no stay was in place. Accordingly, the Court

incorrectly concluded that Mount Vernon’s objections to the postponement of the

deposition were moot.

      Mount Vernon would be prejudiced if its objections were deemed moot as

the determination of mootness would be based upon an incorrect presumption of

fact. See Pizarro v. Vida Cafe, LLC, 440 F. App'x at 862. Here, Mount Vernon

timely objected to the Motion to Stay and made its witness available for his

deposition on the scheduled date and, therefore, its arguments remain properly

before the Court.




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         b. Mount Vernon Respectfully Requests That The Court Reconsider
            Mount Vernon’s Objection To The Deposition of Ron Beegle
            Where No Deposing Parties Attended On October 10, 2023.

      Mr. Beegle was prepared to attend his noticed deposition of October 10,

2023, and to permit the continued deposition to be completed as noticed. However,

as noted supra, Mr. Beegle’s deposition did not move forward on October 10, 2023,

despite the fact that the Court had not issued an order on the Motion to Stay. As

discussed in Mount Vernon’s response to the Motion to Stay [Dkt. 422], Mount

Vernon witnesses have already been deposed for six days in either a corporate or

individual capacity. Specifically, Mount Vernon designated Ron Beegle to testify as

a corporate representative as to certain topics and he was initially deposed on August

3-4, 2023. That deposition in his corporate capacity exceeded the presumptive

seven-hour limit.

      Upon completion of that deposition, Mr. Beegle was then deposed again in an

individual capacity by Plaintiffs’ Counsel on August 4, 2023, for an additional

approximately four hours. The questions asked by defense counsel during his

corporate capacity deposition were broad ranging and at times ventured into

individual knowledge. Thus, Mr. Beegle has already been deposed for two full days

between his two capacities, made himself available to be deposed on October 10,

2023 as noticed, and requiring him to appear again for an individual deposition based




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upon the Moving Defendants’ unilateral litigation strategy and at their own

convenience is patently unfair.

      Moreover, on September 6 and September 7, two Mount Vernon witnesses

were deposed even after Du Pont, Chemours, and 3M filed notices of stay, with no

objection from the defendants that filed the notices. Not only did the Moving

Defendants fail to object to the taking of these depositions, they also noted on the

record that their participation was solely with respect to the non-stayed claims

asserted by Plaintiff Earl Parris. Thus, it is clear that the Moving Defendants could

have participated in Mr. Beegle’s October 10, 2023 deposition, as agreed by all

counsel, because Defendants attended the prior depositions notwithstanding their

awareness of the existence of a stay in the other litigation.

      The Moving Defendants’ refusal to move forward with the scheduled

deposition despite the fact that no stay was in place merits consequences. See

Rhodes v. Hallam, No. 3:19CV3210/RV/EMT, 2021 WL 5044839, at *4 (N.D. Fla.

Jan. 8, 2021)(imposing sanctions where a deposing party failed to appear at their

scheduled deposition); see also Fed. R. Civ. P. 30(g)(1). Further delaying Mr.

Beegle’s deposition until after the stay further inconveniences the witness and is

unjustified, where Mr. Beegle has already been deposed across multiple days and

the parties seeking the stay have already participated in depositions of Mount Vernon

witnesses notwithstanding the entry of the stay orders of other courts upon which


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the stay motion was founded. Moreover, other parties cannot even claim that the

stay of other litigation precluded them from attending the deposition as noticed; their

failure to appear was entirely voluntary.

                                   CONCLUSION

      Mount Vernon does not seek reconsideration with regard to the Court’s grant

of the broader stay requested by the Movants, as modified by their Reply brief, but

instead, merely seeks a ruling on its objection and the failure of the deposing parties

to appear on October 10, 2023, as agreed. Mount Vernon further objects to its

witness being further inconvenienced by appearing yet again for a deposition where

only some defendants were affected by the foreign stay orders, the affected parties

voluntarily attended earlier depositions after stays had been implemented, and

parties unaffected by any stay at all failed to appear for strategic reasons.

      Mount Vernon respectfully requests reconsideration of (1) the Court’s

determination that Mount Vernon’s objection to the Motion to Stay is moot, and (2)

the Court’s holding that all depositions, including Mr. Beegle’s, are stayed until

after February 2, 2024, when in fact the continuation of Mr. Beegle’s deposition

should have been completed on October 10, 2023 before entry of the Court’s Order

of Stay. Accordingly, Mount Vernon respectfully urges the Court to grant its Motion

for Partial Reconsideration of the November 15 Opinion and Order [Dkt. 438] and




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find that Ron Beegle shall not be required to appear for his individual deposition

again following the resolution of the Court’s stay.

      This the 13th day of December, 2023.


                                       /s/ William M. Droze
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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1.D., the undersigned counsel certifies that the

foregoing filing is prepared in Times New Roman 14-point font, as mandated in

Local Rule 5.1.C.



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the within and foregoing DEFENDANT MOUNT

VERNON MILLS, INC.’S MOTION FOR PARTIAL RECONSIDERATION OF

THE COURT’S NOVEMBER 15, 2023 ORDER was electronically filed with the

Clerk of Court using the CM/ECF system, which automatically serves notification

of such filing to all counsel of record.

      This the 13th day December, 2023.



                                               /s/ William M. Droze
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